                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:00-cr-137-1FDW


 UNITED STATES OF AMERICA,                       )
                                                 )
                  v                              )
                                                 )
                                                 )                   ORDER
 JOSEPH TATE,                                    )
                                                 )
                Defendant.                       )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 310) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2).. Defendant’s motion is DENIED

because the sentence in this case was based on the cross-reference to the Murder guideline and not

based on the drug amounts involved, as stated in Doc. # 299.

       IT IS SO ORDERED.

                                                Signed: February 2, 2010




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